                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
                  CRIMINAL ACTION NO. 11-10152-RGS

                     UNITED STATES OF AMERICA
                                     v.
                              MARK LEPAGE

                   MEMORANDUM AND ORDER ON
                  PETITIONER’S MOTION TO VACATE,
                  SET ASIDE, OR CORRECT SENTENCE
                               July 18, 2019

STEARNS, D.J.

      Mark Lepage brought this motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255. Lepage argues that his conviction

should be vacated because he received ineffective assistance from both his

trial and appellate counsel. For the reasons to be stated, the motion will be

denied. 1

                              BACKGROUND

      On November 5, 2013, Lepage was indicted by a federal grand jury for

Armed Bank Robbery, in violation of 18 U.S.C. §§ 2113(a) and (d), and

Possession of a Firearm in Furtherance of a Crime of Violence, in violation


      1As the motion can be disposed of on the existing record, the court
sees no reason to grant Lepage’s request for an evidentiary hearing. See
Moreno-Morales v. United States, 334 F.3d 140, 145 (1st Cir. 2003).
of 18 U.S.C. § 924(c)(1)(A).

      During the investigation, Robert Wood, a customer who had witnessed

the bank robbery identified Lepage’s photograph in a police-assembled

array.    Wood placed his initials on the photograph to confirm the

identification. Both the government and Lepage’s trial counsel interviewed

Wood prior to the scheduled trial date.

      On December 19, 2013, the prosecution, pursuant to its discovery

obligations under Local Rule 116.2(b)(2)(A-G), wrote to LePage’s counsel

stating in relevant part that “the government is unaware of any information

that tends to cast doubt on the credibility or accuracy of any witness or

evidence the government anticipates calling or offering in its case-in-chief.”

Pet’r’s Mot. (Dkt # 179) Ex. 1, 9.

      On January 6, 2014, LePage pled guilty to both counts of the

Indictment pursuant to a plea agreement negotiated under the binding

sentence provisions of Fed. R. Crim. P. 11(c)(1)(C). On January 20, 2014,

the Assistant U.S. Attorney (AUSA) sent an email to Lepage’s counsel

disclosing that during his pretrial interview, “[Wood had] said that the

initials [on the photograph of LePage] did not look like his initials, but he

would say they were his,” and then, “[Wood] appeared to back away from


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that statement . . . .” Pet’r’s Mot. Ex. 1, 11. The AUSA stated that he did

not “know if [Wood] was joking,” but that Wood “ultimately . . . [had] no

issue with the initials or the identification.” Id. The AUSA also disclosed

a conversation with Wood where “he said something about making a call(s)

or doing something to get out of the ticket,” however “at the time, [the

prosecution] evaluated what he [had] said and . . . did not consider his

statement exculpatory.” Id.

        On March 28, 2014, Lepage filed a motion to withdraw his guilty plea.

The court denied the motion on June 27, 2014, and on August 22, 2014, after

accepting the plea agreement, sentenced LePage to a term of 108 months on

Count One and a concurrent term of 84 months on Count Two. On August

25, 2014, Lepage appealed the denial of his motion to withdraw the guilty

plea.      The First Circuit affirmed the district court’s decision on

March 2, 2017. United States v. Lepage, No. 14-1897 (1st Cir. Mar. 2, 2017).

        In support of his Section 2255 petition, Lepage alleges that his trial

counsel was ineffective in failing to pursue the issue of the authenticity of

Wood’s initials on the photograph in the array. He also faults his appellate

counsel for failing to raise the argument that the prosecution “violated [his]

right    to   due   process   under   the   law”   by   making    “affirmative


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misrepresentations” in its December 19, 2013 letter.            Pet’r’s Reply

(Dkt # 182) at 1.

                               DISCUSSION

      Section 2255 is not a surrogate for direct appeal, but rather provides

for post-conviction relief in four limited instances: “if the petitioner’s

sentence (1) was imposed in violation of the Constitution, or (2) was imposed

by a court that lacked jurisdiction, or (3) exceeded the statutory maximum,

or (4) was otherwise subject to direct attack.” David v. United States, 134

F.3d 470, 474 (1st Cir. 1998). “The catch-all fourth category includes only

assignments of error that reveal ‘fundamental defects’ which, if uncorrected,

will ‘result in a complete miscarriage of justice,’ or irregularities that are

‘inconsistent with the rudimentary demands of fair procedure.’”           Id.,

quoting Hill v. United States, 368 U.S. 424, 428 (1962).        A cognizable

Section 2255 claim, unless it is constitutional or jurisdictional in nature,

must reveal “exceptional circumstances” compelling redress. David, 134

F.3d at 474.        The petitioner bears the burden of demonstrating an

entitlement to relief. Mack v. United States, 635 F.2d 20, 26-27 (1st Cir.

1980).

      While a claim of ineffective assistance of counsel is cognizable under


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section 2255, see Rivera-Rivera v. United States, 844 F.3d 367, 372 (1st Cir.

2016), a petitioner raising the claim faces a “significantly higher hurdle than

would exist on direct appeal,” United States v. Frady, 456 U.S. 152, 166

(1982). The petitioner bears the burden of proof. Wilder v. United States,

806 F.3d 653, 658 (1st Cir. 2015).

      The Sixth Amendment provides that “[i]n all criminal prosecutions, the

accused shall enjoy the right to . . . have the Assistance of Counsel for his

defence.” The right to counsel includes the right to effective counsel. See

Strickland v. Washington, 466 U.S. 668, 686 (1984).         Effective counsel

does not mean perfect counsel. “Judicial scrutiny of counsel’s performance

must be highly deferential,” and “every effort [should] be made to eliminate

the distorting effects of hindsight.” Id. at 689. The court “must indulge a

strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance; that is, the defendant must overcome the

presumption that, under the circumstances, the challenged action ‘might be

considered sound trial strategy.’” Id., quoting Michel v. Louisiana, 350 U.S.

91, 101 (1955).

      “First, a reviewing court must assess the proficiency of counsel’s
      performance under prevailing professional norms . . . . This
      evaluation demands a fairly tolerant approach; after all, the
      Constitution pledges to an accused an effective defense, not

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     necessarily a perfect defense or a successful defense . . . . The
     second line of inquiry . . . entails a showing of a reasonable
     probability that, but for counsel’s unprofessional errors, the
     result of the proceeding would have been different.”
Scarpa v. Dubois, 38 F.3d 1, 8 (1st Cir. 1994) (internal quotation marks

omitted) (a showing of actual prejudice is a necessary element in almost all

cases involving allegations of attorney error). While a petitioner need not

“prove that the errors were more likely than not to have affected the verdict,”

Gonzales-Zoberal v. United States, 244 F.3d 273, 278 (1st Cir. 2001), he

must show that they were “sufficient to undermine confidence in the

outcome,” Strickland, 466 U.S. at 694.      The prejudice inquiry, therefore,

necessarily focuses “on the fundamental fairness of the proceeding.” Id. at

696.

       Here, to the extent there was any uncertainty about the details of

Wood’s identification of LePage, it had no material impact on the strength of

the government’s case. As the First Circuit noted:

       the government’s belated disclosures containing alleged
       impeachment information pertained only to two of the five
       witnesses to the armed robbery (and to another witness whose
       testimony would not have been outcome-determinative). . . .
       [T]he disclosures would not have fundamentally altered
       Lepage’s chances at trial: its case for conviction remained strong
       because it had three eyewitnesses who have previously identified
       Lepage as the robber.

Lepage, No. 14-1897 (1st Cir. Mar. 2, 2017) (emphasis added).               Here,

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Lepage’s “failure to satisfy one prong under the Strickland analysis [the

prejudice prong] obviates the need for [the] court to consider the remaining

prong.” Tevlin v. Spencer, 621 F.3d 59, 66 (1st Cir. 2010).

      Lepage’s claim of ineffective assistance of appellate counsel also comes

up short.     Because trial counsel did not raise the issue of a due process

violation in the motion to withdraw LePage’s guilty plea - most likely based

on an informed assessment that there was none - the argument “cannot be

resurrected on appeal.” United States v. Rodriguez, 311 F.3d 435, 437 (1st

Cir. 2002).     It follows that appellate counsel’s refusal to attempt the

resurrection of an argument that he was barred from making was not error,

and certainly not error of a prejudicial kind.2

                                   ORDER

      For the foregoing reasons, Lepage’s motion to vacate, set aside, or



      2 Lepage’s reliance in this regard on Ferrara v. United States, 456 F.3d
278 (1st Cir. 2006) is misplaced. In Ferrara, the prosecution failed to
disclose a police detective’s memo documenting a witness’s recantation,
which the district court found to be “exculpatory evidence that tended to
negate the petitioner’s guilt or . . . impeach a crucial prosecution witness.”
456 F.3d at 286 (emphasis added). Here, it is plain as a pikestaff that Wood
was neither a crucial prosecution witness, nor was his momentary
equivocation exculpatory in any material sense. See Lepage, No. 14-1897
(1st Cir. Mar. 2, 2017).


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correct his sentence is DENIED.3

                                     SO ORDERED.

                                     /s/ Richard G. Stearns
                                     UNITED STATES DISTRICT JUDGE




      3 Petitioner is advised that any request for the issuance of a Certificate
of Appealability pursuant to 28 U.S.C. § 2253 of the court’s Order dismissing
his petition is also DENIED, the court seeing no meritorious or substantial
basis supporting an appeal.

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